             Case 3:06-cr-00316-VC         Document 158           Filed 09/28/06   Page 1 of 1



 1   WILLIAM L. OSTERHOUDT, ESQ. (SBN043021)
 2
     DOLORES T. OSTERHOUDT (SBN 215537)
     FRANK S. MOORE, ESQ. (SBN 158029)
 3   LAW OFFICES OF WILLIAM OSTERHOUDT
     135 Belvedere Street
 4   San Francisco, CA 94117
 5   Telephone: (415) 664-4600

 6   Attorneys for Defendant
     JASON MARX
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )           No. CR 06-0316 MHP
11                                         )
                  Plaintiff,               )           [PROPOSED] ORDER
12                                         )           REMOVING CURFEW
           vs.
                                           )           CONDITION FROM
13
     JASON ALLEN MARX,                     )           DEFENDANT MARX’S
14                                         )           CONDITIONS OF RELEASE
                  Defendant.               )
15   _____________________________________ )
16
             It appearing that defendant Jason Marx has been admitted to bail in this case, and that
17
     one of the conditions of his pretrial release is that he be subject to a curfew as directed by the
18
     pretrial services officer; and
19
             It further appearing that the pretrial services officer has approved the removal of the
20
     curfew condition; and
21
             It further appearing that defendant Marx is in compliance with the conditions of his
22   release; and
23           GOOD CAUSE APPEARING, it is hereby ordered that the condition of pretrial release
24   requiring that defendant Marx submit to a curfew requirement is deleted. In all other respects,
25   the conditions of defendant Marx’s pretrial release remain unchanged.
                                                                          ISTRIC
                                                                   T ES D       TC
                                                                 TA
26
     DATED: ___________
               September 28, 2006
                                                                                    O
                                                               S




                                          ______________________________________
                                                                                     U
                                                             ED




27
                                                                                      RT




                                                                                  D
                                          MAGISTRATE ELIZABETHOLAPORTE      RDERE
                                                         UNIT




                                                                   IS S O
28
                                          United States DistrictITCourt
                                                                                         R NIA




     _____________________________________________________________________________________
     [Proposed] Order Removing Curfew Condition From Defendant Marx’s Conditions Laporte of Release
                                                                         beth D.
                                                          NO




     (N o.CR 06-0316)                                           e E liz a
                                                          Ju d g
                                                                                        FO




                                                 1
                                                           RT




                                                                                      LI




                                                         ER
                                                             H




                                                                                     A




                                                            N                         C
                                                                                  O F
                                                                D IS T IC T
                                                                          R
